       IT IS SO ORDERED.

       Dated: 29 March, 2022 12:11 PM




                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

        In re      WILLIAM ANTHONY MARQUEZ                ) Case No. 20-10691-jps
                                                          ) Chapter 13 Proceedings
                   Debtor(s)                              ) Judge Jessica E. Price Smith



                    ORDER GRANTING CHAPTER 13 TRUSTEE’S MOTION FOR
                     EXAMINATION PURSUANT TO BANKRUPTCY RULE 2004

    Upon consideration of the Trustee’s Motion for Examination pursuant to Bankruptcy Rule 2004, and
for good cause shown:

   IT APPEARS to the Court that the Trustee’s Motion for examination pursuant to Bankruptcy Rule
2004 is well taken and will be granted.

   IT IS ORDERED that, pursuant to the Trustee’s Motion, WILLIAM ANTHONY MARQUEZ, will
appear for examination pursuant to Bankruptcy Rule 2004 at the following time and place:

                                  Wednesday, April 27, 2022, at 2:00 p.m.
                                     Via Telephonic Conference Call

       IT IS FURTHER ORDERED that the Debtor, WILLIAM ANTHONY MARQUEZ, is required
to provide to the Trustee by Thursday, April 21, 2022 all the documents and records as listed and
requested in the Trustee’s motion for examination. Failure to comply with this Order and appear for the
telephonic examination is cause for dismissal of this case. Submission to the Trustee of the documents
requested will not excuse the Debtor and counsel from appearing for the telephonic examination at the
designated date and time.


       20-10691-jps     Doc 27     FILED 03/29/22      ENTERED 03/30/22 12:05:00           Page 1 of 2
 Submitted by:
 /s/ Lauren A. Helbling
 LAUREN A. HELBLING (#0038934)
 Chapter 13 Trustee
 200 Public Square, Suite 3860
 Cleveland OH 44114-2321
 Phone (216) 621-4268
 Fax (216) 621-4806
 Ch13trustee@ch13cleve.com


                                         SERVICE LIST

Lauren A. Helbling, Chapter 13 Trustee
(served via ECF)

Office of the U.S. Trustee
(served via ECF)

WILLIAM J. BALENA, Attorney for Debtor
docket@ohbksource.com
(served via ECF)

WILLIAM ANTHONY MARQUEZ, Debtor
2906 GOBLE DRIVE
LORAIN, OH 44055




                                  ###




20-10691-jps      Doc 27     FILED 03/29/22    ENTERED 03/30/22 12:05:00   Page 2 of 2
